Case 23-12065-MBK            Doc 47     Filed 01/08/24 Entered 01/08/24 13:23:11                Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                   Case No.:          23-12065
                                                                                   _______________
 In Re:
                                                                   Adv. Pro. No.: _______________
 Ioana Nedelcu
                                                                   Chapter:               7
                                                                                   _______________

                                                                   Subchapter V:      Yes  No

                                                                                   01/11/2024
                                                                   Hearing Date: _______________

                                                                   Judge:               Kaplan
                                                                                   _______________

                                       ADJOURNMENT REQUEST

1.                     Victor Goldberg
          I, ___________________________________,

           am the attorney for: ______________________________________________________,
           am self-represented,

          and request an adjournment of the following hearing for the reason set forth below.
                  #23 Motion for Relief and #40 Motion to Dismiss
          Matter: ________________________________________________________________________
                                         01/11/2024 at 10:00
          Current hearing date and time: ____________________________
                              02/22/2024 at 10:00 a.m.
          New date requested: ____________________________________
                                          I have just received the recording of the 341(a) meeting fr
          Reason for adjournment request: ___________________________________________________
          I have also hired the Certified Fraud Examiner, Jennifer Ostwald, and she is preparing a s
          ______________________________________________________________________________

2.        Consent to adjournment:

           I have the consent of all parties.  I do not have the consent of all parties (explain below):
          I obtained the consent of Trustee Karen Bezner to adjourn the hearing on the Motion to D
          ______________________________________________________________________________
           Trustee Bezner requested my consent to also adjourn the Motion for Relief from the Auto
          ______________________________________________________________________________
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I certify under penalty of perjury that the foregoing is true.


       01/08/2024
Date: ___________________________                            Victor Goldberg
                                                            _______________________________
                                                            Signature




COURT USE ONLY:

The request for adjournment is:

 Granted                                            2/22/24 at 10:00 am
                                  New hearing date: ________________________           Peremptory
 Granted over objection(s)       New hearing date: ________________________           Peremptory

 Denied


          IMPORTANT: If your request is granted, you must notify interested parties
          who are not electronic filers of the new hearing date.




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